


 
   *569
   
  Matthias, J.,
 

  dissenting. In my- opinion the decision of the Board of Tax Appeals is not unlawful or unreasonable.
 

  Although the precise situation has not been involved in cases heretofore decided, the decision of the Board of' Tax Appeals is in harmony with previous decisions of this court.
 

  Concededly public ownership of property is not sufficient to warrant its exemption from taxation; a public use of the property is essential and mere possible public benefit, present or future, is not sufficient; nor does prospective use of the property for an exempted purpose warrant its present exemption from taxation.
 

  Weygandt, C. J., and Zimmerman, J., concur in the foregoing dissenting opinion.
 
